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                    Exhibit C
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From:                              Edwards, John
Sent:                              Friday, October 20, 2023 11:19 AM
To:                                Levine-Patton, Maura; Shah, Bethany
Cc:                                Hoover, Andrea; Kovacs, Caitlin; Golden, Meghan
Subject:                           RE: Third party subpoenas



Maura, please confirm the following:

1.     Issues & Crisis Group, Scott Circle Comms, SEC Newgate, and Courtney Torres Consulting will produce
        responsive documents based on the search terms you proposed to us on Sept. 8th.
2.     You will send to us information regarding the search queries that we proposed that are generating large
        hit numbers, identifying the hit counts.
3.     We will revise the queries based on the information you provide.

That’s all we need to do right now, and I think the above accurately describes the agreements we reached
        yesterday.

Thanks. ‐ John

From: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>
Sent: Thursday, October 19, 2023 9:45 PM
To: Shah, Bethany <bpickett@jw.com>
Cc: Hoover, Andrea <AHoover@beneschlaw.com>; Edwards, John <jedwards@jw.com>; Kovacs, Caitlin
<CKovacs@beneschlaw.com>; Golden, Meghan <MGolden@beneschlaw.com>
Subject: RE: Third party subpoenas

                                **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Bethany,

I made clear multiple times during our meet and confer today that we are not open to extensive back and forth
regarding additional search terms after we produce the documents that are responsive to the search terms I initially
proposed on 9/8/23. Your suggestion below that we “agreed to an iterative process regarding any additional search
terms” indicates to me that OANN wants to receive documents from these third parties, and then demand additional
search terms in a back‐and‐forth “go fish” style. That process is unduly burdensome on these third parties and is not
what we agreed to today during our meet and confer.

If you can agree, in writing, that you will not be seeking multiple additional search term iterations after we produce the
documents responsive to our 9/8/23 search terms, we will be able to move forward on producing documents.
Otherwise, we will hold on production until we can agree on a final set of terms.

Regards,
Maura



                          Maura Levine‐Patton


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                          (she/her/hers)
                          Associate | Litigation
                          Benesch Friedlander Coplan & Aronoff LLP
                          t: 312.624.6368 | MLevine‐Patton@beneschlaw.com
                          www.beneschlaw.com
                          71 South Wacker Drive, Suite 1600, Chicago, IL 60606‐4637

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From: Shah, Bethany <bpickett@jw.com>
Sent: Thursday, October 19, 2023 2:44 PM
To: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>
Cc: Hoover, Andrea <AHoover@beneschlaw.com>; Edwards, John <jedwards@jw.com>
Subject: RE: Third party subpoenas

Hi Maura,

Thanks for speaking to us today about the third party subpoenas to Issues & Crisis Group, Scott Circle Comms, SEC
Newgate, and Courtney Torres Consulting. We agreed that each party will be producing responsive documents based on
the search terms you proposed to us on Sept. 8th, and you’ll get back to us on a date for the production. If you could
please let us know by Monday when the documents can be produced, we would appreciate it.

We also agreed to an iterative process regarding any additional search terms. We agreed that you would send us
information regarding those of our proposed search terms that are causing overly broad hits with your vendor and we
agreed to refine those queries. Please let us know when you can provide this information, including the hit numbers
associated with the queries generating voluminous results, so we can work together to reach an agreed set.

Thank you,

Bethany Pickett Shah
1401 McKinney Suite 1900 | Houston, TX 77010
V: (713) 752-4365 | F: (713) 752-4221




From: Shah, Bethany
Sent: Tuesday, October 17, 2023 10:11 AM
To: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

Hi Maura,

Let’s do Thursday at 2 PM cst. I’ll send an invite. Please come prepared to discuss what terms you continue to assert are
burdensome and evidence of this burden so that we can have a productive conversation.

Talk soon,

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                Case 1:21-cv-02900-CJN Document 112-3 Filed 11/02/23 Page 4 of 11
Bethany Pickett Shah
1401 McKinney Suite 1900 | Houston, TX 77010
V: (713) 752-4365 | F: (713) 752-4221




From: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>
Sent: Tuesday, October 17, 2023 9:44 AM
To: Shah, Bethany <bpickett@jw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

                                **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Hi Bethany,

I’m available to meet with you tomorrow or Thursday. Tomorrow I’m available 11‐1130am or 2‐230pm CT. Thursday I’m
available 2‐230pm or 330‐4pm CT. The meet and confer will be productive if you can provide more narrowly tailored
search terms in advance, per my email on 10/10.

Regards,
Maura



                          Maura Levine‐Patton
                          (she/her/hers)
                          Associate | Litigation
                          Benesch Friedlander Coplan & Aronoff LLP
                          t: 312.624.6368 | MLevine‐Patton@beneschlaw.com
                          www.beneschlaw.com
                          71 South Wacker Drive, Suite 1600, Chicago, IL 60606‐4637

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From: Shah, Bethany <bpickett@jw.com>
Sent: Monday, October 16, 2023 4:10 PM
To: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

Hi Maura,

Following up on this. We’d ask for a meet and confer on this this week. Please let us know your availability.

Thank you,

Bethany Pickett Shah
1401 McKinney Suite 1900 | Houston, TX 77010



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V: (713) 752-4365 | F: (713) 752-4221




From: Shah, Bethany
Sent: Tuesday, October 10, 2023 2:43 PM
To: 'Levine‐Patton, Maura' <MLevine‐Patton@beneschlaw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

Hi Maura,

We are happy to work with you to narrow down these terms, but I fear that your vendor may not have run the terms
properly and that is why your results are large. Concerning your examples below:

        1. (Dan* w/3 Bal*) is not a standalone term, but would only hit if it was also used where the Smartmatic terms
        appear. For example, this would be the proper search string: (Smartmatic! OR "Smart‐matic!" OR "Smart
        Matic!" OR SMMT! OR SMT! OR SGO OR Smartmatik! OR Smtt! OR !@smartmatic.com OR !rousch!) AND (Dan*
        w/3 Bal*).

        Can you confirm that is what your vendor ran? If so, please let us know how many docs this hit on. It shouldn’t
        capture every use of “Ball” unless it is connected with a discussion of Smartmatic.

        2. “PA” should be put in quotations when it is run, as our search terms show, since we are only interested in the
        acronym where it is referring to Pennsylvania. And again this isn’t a standalone term but is connected to the
        Smartmatic terms we listed. If you are still having issues, please let us know how many docs this hit on after you
        put it in quotations. This should also apply to the other acronyms of states we listed.

        3. For “Jan. 6” we are not interested in all emails from that date, but only where it was referred to in the body of
        an email. For clarity, we are happy to narrow this to terms without the wildcard, and indeed some of our search
        terms did not include that wildcard.

        4. As for RFP 14, if you let us know what media organizations your client communicated with concerning
        Smartmatic, we are happy to narrow that to just those entities. We only provided this list because you insisted
        on search terms.

And as we discussed before, some of these terms are not amenable to search terms and this likely causes some of the
hits to be high. If search terms were not used for all of these requests, we have no doubt that the number of documents
would be lower. But we agreed, reserving our rights, to provide you with these terms in an attempt to come to
agreement. We are happy to keep working with you to iron these out these terms, but we will need more information
from you on where the hits are high and cannot play a guessing game here.

Please let us know when you would be free to confer about this – it is probably easier to discuss further narrowing over
a phone call.


Bethany Pickett Shah
1401 McKinney Suite 1900 | Houston, TX 77010




                                                             4
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V: (713) 752-4365 | F: (713) 752-4221




From: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>
Sent: Tuesday, October 10, 2023 1:27 PM
To: Shah, Bethany <bpickett@jw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

                                **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**

Bethany,

We reviewed your search terms and found them overbroad. Nevertheless, we asked our vendor to run the terms against
the populations of third‐party PR Firms that you have subpoenaed. The overbreadth became so apparent that the
vendor could not even finish their search. By way of example only:

    1. (Dan* w/3 Bal*) would not run due to the number of hits returned by “Bal*”.

    2. PA* would not run due to the number of hits returned.

    3.   Jan. 6* would not run, due to the wildcard after 6.

Furthermore, you asked for us to run Request No. 14 “against” your provided list of media organizations. (See the
screenshot below). Neither we nor our vendor knows what that means. We can run terms against custodians. We do not
have the ability to run terms “against” a laundry list of media organizations that you have provided; it’s not physically
possible, nor does it make sense.




To be clear, the list of terms I provided you to start the conversation is a good starting point because those terms have
been agreed upon between these third parties and other defendants. These terms have been deemed to be sufficient
by those parties and by us. We are not at liberty to tell you which defendants those are. There are no other terms
“under negotiation” that we are willing or able to provide you. We are willing and ready to discuss other, limited search
terms that you may believe are reasonably necessary. But the search terms you counter‐proposed are far too overbroad
and, in some instances, physically impossible to run.

We will be able to have another live discussion once you have provided more reasonable, limited search terms that we
can reasonably run a hit report against. Further discussion over the current set of terms would be unproductive at this
point. Thanks.

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Regards,
Maura




                          Maura Levine‐Patton
                          (she/her/hers)
                          Associate | Litigation
                          Benesch Friedlander Coplan & Aronoff LLP
                          t: 312.624.6368 | MLevine‐Patton@beneschlaw.com
                          www.beneschlaw.com
                          71 South Wacker Drive, Suite 1600, Chicago, IL 60606‐4637

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From: Shah, Bethany <bpickett@jw.com>
Sent: Monday, October 9, 2023 3:58 PM
To: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

Hi Maura and Andrea,

Just following up on this ‐‐ Please let us know when you might be free for a meet and confer this week.

Thank you,

Bethany Pickett Shah
1401 McKinney Suite 1900 | Houston, TX 77010
V: (713) 752-4365 | F: (713) 752-4221




From: Shah, Bethany
Sent: Wednesday, October 4, 2023 4:11 PM
To: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

Hi Maura,

Last time we spoke you said you would be sending us the search terms under negotiation between you and other
parties, such as Fox, but we haven’t received them. Could you please send those?

We do not believe the search terms you included below will cover the information we are seeking in our subpoena,
especially given that you are using search terms as a substitute to identifying relevant information that we think is best
and most easily located without search terms. But in the spirit of compromise, and while reserving our rights, we’ve
attached search terms that are tailored to each grouped RFP. We are happy to confer on these. If you think any of these

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terms are too burdensome, we’d ask that you demonstrate the burden by identifying how many responsive documents
these terms hit on.

Also, could you please confirm if there are any Spanish language documents? These terms are only in English, so if there
are Spanish documents, we will want Spanish terms run as well. We are available to meet and confer on these terms
later this week or next. Please let us know your availability.

Thank you,

Bethany Pickett Shah
1401 McKinney Suite 1900 | Houston, TX 77010
V: (713) 752-4365 | F: (713) 752-4221




From: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>
Sent: Friday, September 8, 2023 8:18 PM
To: Pickett Shah, Bethany <bpickett@jw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Subject: RE: Third party subpoenas

                               **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Bethany,

Here are the search terms we are proposing for OANN’s subpoenas to Issues & Crisis Group, SEC Newgate, Scott Circle,
and Courtney Torres.

Best,
Maura

(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) AND ("Los Angeles" OR "LA
County" OR LA)
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) AND (("United States" OR USA
OR U.S. OR US) W/5 (market OR entry OR enter OR
breakthrough OR strategy))
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) AND (Budget OR retainer OR
due OR owe OR receivable)
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) AND (CFIUS OR Sequoia)
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) AND (Philippines OR Kenya)
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) AND (Venezuela* OR Chavez
OR Maduro)

                                                           7
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(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) AND (Wikipedia)
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) W/25 (Fox OR FNN)
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) W/25 (Proposal* OR Market* OR
Media)
(Smartmatic* OR "Smart-matic*" OR "Smart Matic*" OR
SMMT* OR SMT* OR SGO) W/25 (reputation OR brand* OR
recep* OR perce* OR image OR bad OR negative OR false OR
harm* OR hurt* OR concern* OR problem* OR fix OR improv*
OR mislead*)




                         Maura Levine‐Patton
                         (she/her/hers)
                         Associate | Litigation
                         Benesch Friedlander Coplan & Aronoff LLP
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                         71 South Wacker Drive, Suite 1600, Chicago, IL 60606‐4637

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From: Pickett Shah, Bethany <bpickett@jw.com>
Sent: Thursday, September 7, 2023 4:50 PM
To: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>; Hoover, Andrea <AHoover@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>
Subject: RE: Third party subpoenas

It was nice meeting you both today. As we discussed, you confirmed that Issues & Crisis Group, SEC Newgate, Scott
Circle Comms, and Courtney Torres Consulting did work for Smartmatic during certain time periods and you agreed to
produce responsive documents after running agreed upon search terms and reviewing for responsiveness. Our position
is that documents responsive to a subpoena request should be produced irrespective of whether they hit on search
terms if they are readily identifiable without such terms (e.g., RFP # 2 which asks for agreements with Smartmatic).
Nevertheless, we are willing to review the search terms you have negotiated with other parties. If you could send these
search terms (agreed and under negotiation) to us by Monday, we would appreciate it. We’ll revert back and continue
our discussions.

Looking forward to working with you both.

Thanks,

Bethany Pickett Shah
1401 McKinney Suite 1900 | Houston, TX 77010




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V: (713) 752-4365 | F: (713) 752-4221




From: Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>
Sent: Tuesday, September 5, 2023 11:09 AM
To: Pickett Shah, Bethany <bpickett@jw.com>; Kovacs, Caitlin <CKovacs@beneschlaw.com>
Cc: Sullivan, Olivia <OSullivan@beneschlaw.com>; Hoover, Andrea <AHoover@beneschlaw.com>; Edwards, John
<jedwards@jw.com>
Subject: RE: Third party subpoenas

                                **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Hi Bethany,

How is 1pm CT on Thursday 9/7? If that works for you please send a calendar invite to Andrea and I. Thanks.

Maura



                           Maura Levine‐Patton
                           (she/her/hers)
                           Associate | Litigation
                           Benesch Friedlander Coplan & Aronoff LLP
                           t: 312.624.6368 | MLevine‐Patton@beneschlaw.com
                           www.beneschlaw.com
                           71 South Wacker Drive, Suite 1600, Chicago, IL 60606‐4637

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From: Pickett Shah, Bethany <bpickett@jw.com>
Sent: Tuesday, September 5, 2023 9:35 AM
To: Kovacs, Caitlin <CKovacs@beneschlaw.com>
Cc: Sullivan, Olivia <OSullivan@beneschlaw.com>; Levine‐Patton, Maura <MLevine‐Patton@beneschlaw.com>; Hoover,
Andrea <AHoover@beneschlaw.com>; Edwards, John <jedwards@jw.com>
Subject: Re: Third party subpoenas

Thank you Caitlin. Nice to meet you, Maura and Andrea. Please let us know if there’s a time this week that would work
for you to discuss these subpoenas. John and I are pretty flexible on Thursday and Friday.

Thanks!

Bethany Shah
Jackson Walker LLP
(713) 752‐4365


          On Sep 5, 2023, at 4:22 PM, Kovacs, Caitlin <CKovacs@beneschlaw.com> wrote:



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                               **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Bethany,

I’m adding here Maura Levine‐Patton and Andrea Hoover, who can connect with you about availability.

Thanks,
Caitlin



                                 Caitlin A. Kovacs
                                 (she/her/hers)
                                 Partner | Litigation
<image300301.jpg>
                                 Benesch Friedlander Coplan & Aronoff LLP
                                 t: 312.624.6392 | m: 614.804.0562
                                 CKovacs@beneschlaw.com | www.beneschlaw.com
                                 71 South Wacker Drive, Suite 1600, Chicago, IL 60606‐4637

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From: Pickett Shah, Bethany <bpickett@jw.com>
Sent: Tuesday, September 5, 2023 8:27 AM
To: Kovacs, Caitlin <CKovacs@beneschlaw.com>; Sullivan, Olivia <OSullivan@beneschlaw.com>
Cc: Edwards, John <jedwards@jw.com>
Subject: Third party subpoenas

Hi Caitlin,

Would someone from your team be free for a meet and confer to discuss our third party subpoenas to
Scott Circle Comms, SEC Newgate, Courtney Torres Consulting, and Issues and Crisis Group this week?
We are free Thursday and Friday, so please let us know what times work best for you.

Hope you had a nice holiday weekend,

Bethany Shah
Jackson Walker LLP
(713) 752‐4365




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